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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE: ) In Proceedings
) Under Chapter 13
GARY M. LAGER and )
CONSTANCE S. LAGER, )
)
Debtors. )
) BK  18-31706
GARY M. LAGER and )
CONSTANCE S. LAGER, )
)
Plaintiffs, )
) ADV 19-3535
vs. )
)
DITECH FINANCIAL, LLC, )
)
Defendant. )
AFFIDAVIT FOR DEFAULT

COMES NOW, Ronald A. Buch, Attorney for Plaintiffs and for his Affidavit for
Default states as follows:

1. On May 14, 2019, the Plaintiffs filed their Complaint to Avoid Unperfected
Lien.

2. On May 14, 2019, the Summons was issued by the Court.

3. The Summons provided 30 days in which an answer or other response must be
filed.

4. On May 15, 2019, the Summons was mailed to the Defendant.

5. The Affidavit was filed on July 1, 2019.

6. No such answer or other response has been timely filed by Defendant.

7. The Defendant is not believed to be a member of the military service.

8. The Defendant is not a minor or incompetent person.
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WHEREFORE, the undersigned Attorney prays this Honorable Court for an Order of

Default Judgment and for such other relief as the Court deems just and proper.

 

Attorney for Plaintiffs
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NOTARY: KW Q2 Fou To l9

DAVID TEMARES
Official Seal

Notary Public - State of Illinois
My Commission Expires May 17, 2023

 
